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                   IN THE UNITED STATES DISTRICT COURT FOR
                       THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA       )
                               )
v.                             )                      CASE NO. 2:09-cr-207-MEF
                               )
MICHAEL IVAN REINOSO-GOMEZ and )
ANGEL LUIS TORRES              )

                                       ORDER

       Upon consideration of the government's Motion to Dismiss Indictment (Doc. #72)

filed on July 12, 2010, it is hereby

       ORDERED that the motion is GRANTED and the original indictment in this case is

dismissed as to defendants Michael Ivan Reinoso-Gomez and Angel Luis Torres. The

original indictment is not dismissed as to defendant Andres Carmelo Penalba-Martinez.

       DONE this the 20th day of July, 2010.


                                                /s/ Mark E. Fuller
                                        CHIEF UNITED STATES DISTRICT JUDGE
